         IN THE DISTRICT COURT OF THE UNITED STATES
        FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                      ASHEVILLE DIVISION

                        CRIMINAL NO. 1:00CR9


UNITED STATES OF AMERICA                )
                                        )
                                        )
           VS.                          )           ORDER
                                        )
                                        )
DAVID FRANKLIN RUTHERFORD               )
                                        )


     THIS MATTER is before the Court sua sponte.

     The Defendant was sentenced by the undersigned on December 12,

2000, to a prison term of 240 months for conspiracy to possess with intent

to distribute cocaine base. Judgment in a Criminal Case, filed

December 21, 2000. On May 20, 2009, the Probation Office filed a

Supplement to the Defendant’s presentence report pursuant to the Crack

Cocaine Guideline Amendment. Supplement to the Presentence

Report, filed May 20, 2009. The Probation Office advises that pursuant to

Guidelines § 5G1.1, the sentence imposed may not be below the statutorily

required minimum sentence. Id. at 1. If Amendment 706 had been in

place at the time of Defendant’s sentence, the guideline range would have



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been the mandatory minimum sentence of 240 months; therefore, the new

amendment has no effect on the Defendant’s sentence. Id. Because this

recommendation is adverse to the Defendant, the Court will require

counsel be appointed to represent the Defendant and appointed counsel

shall file an appropriate response.

      IT IS, THEREFORE, ORDERED that the Federal Defender appoint

counsel for the Defendant forthwith.

      IT IS FURTHER ORDERED that appointed counsel file response to

the Supplement to the Presentence Report within 45 days from entry of

this Order.

      The Clerk is directed to provide appointed counsel with a copy of this

Order.

                                       Signed: May 20, 2009




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